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                             United States District Court
                                  Southern District of Georgia
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UNITED STATES OF AMERICA                                                                        NOV t ,   A   3~ 0 8
                                               * CASE NUMBER CR 205-3 4
vs .
                                               *
                                               *
SANJAYJUMAR A . PATEL

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                             ORDER DESIGNATING INTERPRETE R


       The Court having determined, pursuant to Title 28 United States Code Section 1827, that an

 interpreter is required and should be designated in the above-captioned case ,

       IT IS HEREBY ORDERED that         Nina P atel _____ , a non-certified interpreter or

 otherwise competent interpreter, is designated to serve as an interpreter in this case .

 Compensation shall be paid by the government at a rate of $171 .00 per day, with a minimum of

 one half day's compensation of $92 .00 to be paid for each appearance . Any claim for overtime

 shall be paid at the rate of $28 .00 per hour . Claim for compensation by the interpreter for any in-

 court services or assisting the U .S . Probation Office shall be made on Form A0322 . Claim for

 compensation for assisting court-appointed counsel shall be made on CJA Form 21, Authorization

 and Voucher for Expert and Other Services . Any services relating to the CJA Form 21 must be

 approved by the Court prior to the services rendered . These forms shall be furnished by th e

 Clerk of Court.

       SO ORDERED, this day of November                              2005




                                            JUDGE, UNITE1 STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF GEORGIA
